          Case 6:18-cr-10065-EFM Document 16 Filed 06/13/18 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


ORDER TO: Lily Wu, KAKE


INRE:

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )
vs.                                            )       Case No.: 18-10065-01, 02, 03 - EFM
                                               )
TYLER R. BARRISS,                              )
SHANE M. GASKILL,                              )
and CASEY S. VINER,                            )
                                               )
                       Defendants.             )


                                               ORDER

        The Court has granted your request for electronic device(s) be allowed into the Federal

Courthouse and into the courtroom for the initial appearances in the above case on June 13,

2018. By written permission, the Court is authorizing electronic devices be allowed into the

facility, but only to be used to take notes or make electronic non-voice submission over the

internet. Any electronic device permitted in the facility must be placed on "silent" so that no

rings, chimes, or other sounds will be emitted. Only the individuals listed above will be allowed

to bring the device(s) into the facility. Security at the front door will have a list of all those given

permission to bring in devices and what devices they are allowed. You are not allowed to take

photographs or to make any audio or video recording. You may not speak into the device. If the

Court is informed that any violation to this Order has occurred, the device( s) may be confiscated

and the individual may be subject to being in contempt of court.
 Case 6:18-cr-10065-EFM Document 16 Filed 06/13/18 Page 2 of 2




ITIS SO ORDERED.



                                            .GALE
                                      ED STATES MAGISTRATE JUDGE




                              2
